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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

BRIDGETT ANTAYA,
                                                 Case No. 1:17-cv-00722-PLM-RSK
       Plaintiff,                                Honorable Paul L. Maloney
                                                 Magistrate Judge Ray S. Kent
v.

POTESTIVO & ASSOCIATES, P.C.,

       Defendant.

CREDIT REPAIR LAWYERS OF AMERICA                POTESTIVO & ASSOCIATES, P.C.
By: Gary D. Nitzkin (P41155)                    By: Chantelle R. Neumann (P70569)
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                                                POTESTIVO & ASSOCIATES, P.C.
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                                                Attorneys for Defendant
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        STIPULATED ORDER FOR DISMISSAL OF CASE WITH PREJUDICE

       THIS MATTER having come before the Court upon stipulation and agreement by and

between the parties, through their respective counsel, and the Court, being otherwise fully

advised, hereby orders the following:

       IT IS HEREBY ORDERED that Count I and Count III of Plaintiff’s Complaint alleging

violation of the Fair Debt Collection Practices Act and Michigan Collection Practices Act,




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respectively, are hereby dismissed with prejudice and without costs, fees, or sanctions to any

party.

         IT IS FURTHER ORDERED that Plaintiff’s Complaint is dismissed in its entirety with

prejudice and without costs, fees, or sanctions to any party.

         IT IS SO ORDERED.

         This Order resolves the last pending claim and closes the case.



         June 29
Dated: ____________, 2018                       /s/ Paul L. Maloney
                                              ___________________________________
                                              U.S. District Court Judge


Stipulated and agreed as to form and entry:


Dated: June 28, 2018                          /s/ Gary D. Nitzkin (w/email permission)
                                              By: Gary D. Nitzkin (P41155)
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Dated: June 28, 2018                          /s/ Chantelle R. Neumann
                                              By: Chantelle R. Neumann (P70569)
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